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              Sheet 1                                                                                                 United States District Court
                                                                                                                         Southern District of Texas

                                           UNITED STATES DISTRICT COURT                                                     ENTERED
                                                      Southern District of Texas                                            May 25, 2016
                                                            Holding Session in Laredo                                    David J. Bradley, Clerk

            UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                            V.
                    DENITRIA EDWARDS
                                                                          CASE NUMBER: 5:15CR01280-001
                                                                          USM NUMBER: 97375-379

 See Additional Aliases.                                                 Arturo Villarreal, III, AFPD
                                                                          Defendant's Attorney
THE DEFENDANT:
 pleaded guilty to count(s) one, two, and three on December 1, 2015
 pleaded nolo contendere to count(s)
    which was accepted by the court.
 was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:

Title & Section               Nature of Offense                                                            Offense Ended                 Count
8 U.S.C. §§                   Conspiracy to transport and attempt to transport an undocumented alien        10/05/2015                      1
1324(a)(1)(A)(ii),            within the United States by means of transportation
1324(a)(1)(A)(v)(I) and
1324(a)(1)(B)(i)


   See Additional Counts of Conviction.

    The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

 The defendant has been found not guilty on count(s)

 Count(s)                                                     is  are dismissed on the motion of the United States.
     It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                          May 19, 2016
                                                                          Date of Imposition of Judgment


                                                                          ReservedForJudgeSignature
                                                                          Signature of Judge

                                                                          DIANA SALDAÑA
                                                                          UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge

                                                                          May 25, 2016
                                                                          ReservedForSignDate
                                                                          Date
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AO 245B                Case
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DEFENDANT: DENITRIA EDWARDS
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                                           ADDITIONAL COUNTS OF CONVICTION

Title & Section               Nature of Offense                                                     Offense Ended          Count

8 U.S.C. §§                   Transport and attempt to transport an undocumented alien within the    10/05/2015               2
1324(a)(1)(A)(ii),            United States by means of transportation for private financial gain
1324(a)(1)(A)(v)(II)
and 1324(a)(1)(B)(i)

8 U.S.C. §§                   Transport and attempt to transport an undocumented alien within the    10/05/2015               3
1324(a)(1)(A)(ii),            United States by means of transportation for private financial gain
1324(a)(1)(A)(v)(II)
and 1324(a)(1)(B)(i)




   See Additional Counts of Conviction.
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              Sheet 2 -- Imprisonment
                                                                                                                             Judgment -- Page 3 of 7
DEFENDANT: DENITRIA EDWARDS
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                                                          IMPRISONMENT

    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 12 months and 1 day as to each of counts one, two, and three, to run concurrently.
The defendant was advised of the right to appeal the sentence, including the right to appeal in forma pauperis, upon proper documentation.

   See Additional Imprisonment Terms.

 The court makes the following recommendations to the Bureau of Prisons:
    That the defendant be placed in a facility in Arkansas as long as the security needs of the Bureau of Prisons are met.
   The defendant is remanded to the custody of the United States Marshal.

 The defendant shall surrender to the United States Marshal for this district:
   at                   a.m.  p.m. on                            .
   as notified by the United States Marshal.
 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
   before 2 p.m. on                                                .
   as notified by the United States Marshal.
   as notified by the Probation or Pretrial Services Office.


                                                                 RETURN

I have executed this judgment as follows:




    Defendant delivered on _______________________________ to ___________________________________

at ______________________________, with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL

                                                                   By
                                                                                                DEPUTY UNITED STATES MARSHAL
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               Sheet 3 -- Supervised Release
                                                                                                                                                 Judgment -- Page 4 of 7
DEFENDANT: DENITRIA EDWARDS
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                                                            SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years as to each of counts one, two, and three, to
                                                                                            run concurrently.



    See Additional Supervised Release Terms.

     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court. (for offenses committed on or after September 13, 1994)
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
    The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
    The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
    The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act
     (42 U.S.C. § 16901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state registration in
     which he or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable)
    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
      If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
    See Special Conditions of Supervision.
1)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
     each month;
3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)   the defendant shall support his or her dependents and meet other family responsibilities;
5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
     acceptable reasons;
6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
     controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
     a felony, unless granted permission to do so by the probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
    contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
    permission of the court; and
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
    record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
    defendant's compliance with such notification requirement.
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              Sheet 3C -- Supervised Release
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DEFENDANT: DENITRIA EDWARDS
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                                           SPECIAL CONDITIONS OF SUPERVISION

The defendant shall participate in a program, inpatient or outpatient, for the treatment of drug and/or alcohol addiction, dependency or abuse
which may include, but not be limited to urine, breath, saliva and skin testing to determine whether the defendant has reverted to the use of
drugs and/or alcohol. Further, the defendant shall participate as instructed and as deemed necessary by the probation officer and shall comply
with all rules and regulations of the treatment agency until discharged by the Program Director with the approval of the probation officer. The
defendant shall further submit to drug-detection techniques, in addition to those performed by the treatment agency, as directed by the
probation officer. The defendant will incur costs associated with such drug/alcohol detection and treatment, based on ability to pay as
determined by the probation officer.

The defendant is required to participate in a mental health program as deemed necessary and approved by the probation officer. The defendant
will incur costs associated with such program, based on ability to pay as determined by the probation officer.


The defendant shall perform 50 hours of community service as approved by the probation officer to be completed within the first 18 months of
supervised release.




   See Additional Special Conditions of Supervision.
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              Sheet 5 -- Criminal Monetary Penalities
                                                                                                                                Judgment -- Page 6 of 7
DEFENDANT: DENITRIA EDWARDS
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                                               CRIMINAL MONETARY PENALTIES

   The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                  Assessment                            Fine                            Restitution
TOTALS                            $300.00                               $0.00                           $0.00
   $100.00 as to each of counts one, two, and three, for a total of $300.00.
   See Additional Terms for Criminal Monetary Penalties.

 The determination of restitution is deferred until                              . An Amended Judgment in a Criminal Case (AO 245C)
    will be entered after such determination.

 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal payees must be paid
    before the United States is paid.

Name of Payee                                                            Total Loss*       Restitution Ordered              Priority or Percentage




   See Additional Restitution Payees.
TOTALS                                                                       $0.00                       $0.00

 Restitution amount ordered pursuant to plea agreement $

 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
    fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
    to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    the interest requirement is waived for the  fine  restitution.
    the interest requirement for the  fine  restitution is modified as follows:

 Based on the Government's motion, the Court finds that reasonable efforts to collect the special assessment are not likely to be effective.
    Therefore, the assessment is hereby remitted.

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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               Sheet 6 -- Schedule of Payments
                                                                                                                                    Judgment -- Page 7 of 7
DEFENDANT: DENITRIA EDWARDS
CASE NUMBER: 5:15CR01280-001

                                                          SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A  Lump sum payment of $300.00                       due immediately, balance due
        not later than                                  , or
        in accordance with  C,  D,  E, or  F below; or
B  Payment to begin immediately (may be combined with  C,  D, or  F below); or
C  Payment in equal              installments of              over a period of                                      , to commence           days
          after the date of this judgment; or
D    Payment in equal                    installments of                       over a period of                     , to commence           days
          after release from imprisonment to a term of supervision; or
E    Payment during the term of supervised release will commence within                   days after release from imprisonment. The court
          will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F    Special instructions regarding the payment of criminal monetary penalties:
           Payable to: Clerk, U.S. District Court
                       1300 Victoria, Ste. 1131
                       Laredo, TX 78040

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 Joint and Several
Case Number
Defendant and Co-Defendant Names                                                   Joint and Several                Corresponding Payee,
(including defendant number)                                  Total Amount             Amount                        if appropriate




   See Additional Defendants and Co-Defendants Held Joint and Several.

 The defendant shall pay the cost of prosecution.
 The defendant shall pay the following court cost(s):

 The defendant shall forfeit the defendant's interest in the following property to the United States:

   See Additional Forfeited Property.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

     May 25, 2016
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                                                                                          DOCSENT

                              U.S. District Court
                    SOUTHERN DISTRICT OF TEXAS (Laredo)
                  CRIMINAL DOCKET FOR CASE #: 5:15-cr-01280-1


Case title: USA v. Edwards et al                            Date Filed: 10/27/2015
Magistrate judge case number: 5:15-mj-01491                 Date Terminated: 05/19/2016

Assigned to: Judge Diana Saldana

Defendant (1)
Denitria Edwards                              represented by Arturo Villarreal , III
TERMINATED: 05/19/2016                                       Office of the Federal Public Defender
                                                             1202 Houston St
                                                             Laredo, TX 78040
                                                             956-753-5313
                                                             Fax: 956-753-5317
                                                             Email: arturo_villarreal@fd.org
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Public Defender or
                                                             Community Defender Appointment

                                                             Federal Public Defender - Laredo
                                                             1202 Houston St
                                                             Laredo, TX 78040
                                                             956-753-5313
                                                             Email: lar_ecf@fd.org
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Public Defender or
                                                             Community Defender Appointment

Pending Counts                                               Disposition

                                                             12 mos and 1 day concurrent as to
                                                             counts 1-3 for a total of 12 mos and 1
                                                             day imprs; 3 yrs SRT concurrent as to
                                                             counts 1-3 for a total of 3 yrs SRT; all
                                                             standard and mandatory conditions of
                                                             supervised release apply; $100.00
                                                             Special Assessment as to each count for
                                                             a total of $300.00 special assessment;
Conspiracy to transport undocumented                         fine waived [because of the defendants
aliens within the United States                              inability to pay]; 50 hours of
PENALTY: Not more than 10 Yrs.                               community service within 18 mos of
and/or $250,000, $100 CVF, $5,000                            SRT; drug/alcohol treatment while on



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CVF, 3 Yrs. TSR                                            SRT; mental health treatment while on
(1)                                                        SRT; The Court makes a finding that
                                                           the defendant is indigent and will not
                                                           impose the $5,000.00 Special
                                                           Assessment; defendant kept right to
                                                           appeal however defendant is advised of
                                                           right to appeal (notified of 14 day
                                                           deadline); defendant was advised appeal
                                                           would be free of charge. defendant to be
                                                           placed at BOP facility in Arkansas.
                                                           12 mos and 1 day concurrent as to
                                                           counts 1-3 for a total of 12 mos and 1
                                                           day imprs; 3 yrs SRT concurrent as to
                                                           counts 1-3 for a total of 3 yrs SRT; all
                                                           standard and mandatory conditions of
                                                           supervised release apply; $100.00
                                                           Special Assessment as to each count for
                                                           a total of $300.00 special assessment;
Transport and attempt to transport                         fine waived [because of the defendants
undocumented aliens for financial gain                     inability to pay]; 50 hours of
PENALTY: Not more than 10 Yrs.                             community service within 18 mos of
and/or $250,000, $100 CVF, $5,000                          SRT; drug/alcohol treatment while on
CVF, 3 Yrs. TSR                                            SRT; mental health treatment while on
(2-3)                                                      SRT; The Court makes a finding that
                                                           the defendant is indigent and will not
                                                           impose the $5,000.00 Special
                                                           Assessment; defendant kept right to
                                                           appeal however defendant is advised of
                                                           right to appeal (notified of 14 day
                                                           deadline); defendant was advised appeal
                                                           would be free of charge. defendant to be
                                                           placed at BOP facility in Arkansas.

Highest Offense Level (Opening)
Felony

Terminated Counts                                          Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                 Disposition
8:1324.F ----BRINGING IN AND
HARBORING ALIENS




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Material Witness
Belen Rodriguez-Vasquez                     represented by Maria Elena Morales
TERMINATED: 05/19/2016                                     Attorney at Law
                                                           1514 Victoria
                                                           Ste 1
                                                           Laredo, TX 78046
                                                           956-723-5031
                                                           Email: memlaw@sbcglobal.net
                                                           TERMINATED: 11/20/2015
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: CJA Appointment

                                                           Norma Nelly Vielma
                                                           Attorney at Law
                                                           1016 Juarez
                                                           Laredo, TX 78040
                                                           956-725-5500
                                                           Fax: 956-725-7656
                                                           Email:
                                                           attorney@immigrationlawexpert.net
                                                           LEAD ATTORNEY
                                                           Designation: Retained


Material Witness
Argel David Hernandez-Gonzalez              represented by Maria Elena Morales
TERMINATED: 05/19/2016                                     (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: CJA Appointment


Plaintiff
USA                                         represented by Financial Litigation
                                                           U S Attorney's Office
                                                           Southern District of Texas
                                                           1000 Louisiana St
                                                           Ste 2300
                                                           Houston, TX 77002
                                                           713-567-9000
                                                           Fax: 713-718-3391 fax
                                                           Email: flu.usatxs-@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Retained




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                                                            US Pretrial Svcs-LA
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained

                                                            US Probation - L
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained

                                                            Christopher Andrew dos Santos
                                                            US Attorney's Office
                                                            11204 McPherson Road
                                                            Suite 100A
                                                            Laredo, TX 78045
                                                            956-794-2113
                                                            Email:
                                                            christopher.dos.santos@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Retained


 Date Filed      #   Docket Text
 10/07/2015       1 COMPLAINT as to Denitria Edwards (1), Alan Mcmillan (2), filed. (Webb)
                    Initial Appearance set for 10/7/2015 at 09:00 AM in Courtroom 3C before
                    Magistrate Judge Guillermo R. Garcia (sgonzalezadi, 5) (mxperez, 5). [5:15-mj-
                    01491] (Entered: 10/07/2015)
 10/07/2015       8 Affidavit for Material Witness(es) BELEN RODRIGUEZ VASQUEZ &
                    ANGEL DAVID HERNANDEZ GONZALEZ as to Denitria Edwards, Alan
                    Mcmillan, filed.(mxperez, 5) [5:15-mj-01491] (Entered: 10/07/2015)
 10/07/2015       9 Minute Entry for proceedings held before Magistrate Judge Guillermo R.
                    Garcia: INITIAL APPEARANCE OF MATERIAL WITNESS(ES) BELEN
                    RODRIGUEZ VASQUEZ as to Denitria Edwards, Alan Mcmillan, (Material
                    Witness(es) informed of rights) held on 10/7/2015. MW advised that no charges
                    are pending and that MW is remanded into custody of the U.S. Marshals in
                    Case number 15MJ1491 USA v. Denitria Edwards et al.. Financial Affidavit,
                    executed. MW request Counsel. Atty Maria Elena Morales appointed not
                    present in Courtroom. BOND SET AT $ 5,000.00 c/s. Appearances:Mary Ellen
                    Smyth Ausa & Maria Elena Morales appt.(ERO:Terry Lozano)
                    (Interpreter:Susan Tellez, used) MW remanded to Custody of the U.S.
                    Marshals, filed.(mxperez, 5) [5:15-mj-01491] (Entered: 10/07/2015)
 10/07/2015      10 Sealed Financial Affidavit CJA 23 by Material Witness BELEN RODRIGUEZ
                    VASQUEZ as to Denitria Edwards, Alan Mcmillan, filed. [5:15-mj-01491]
                    (Entered: 10/07/2015)
 10/07/2015      11 CJA 20 for Material Witness BELEN RODRIGUEZ VASQUEZ: Appointment
                    of Attorney Maria Elena Morales for Belen Rodriguez-Vasquez as to Alan




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                     Mcmillan, Denitria Edwards ( Signed by Magistrate Judge Guillermo R.
                     Garcia) Parties notified. (mxperez, 5) [5:15-mj-01491] (Entered: 10/07/2015)
 10/07/2015      12 Minute Entry for proceedings held before Magistrate Judge Guillermo R.
                    Garcia: INITIAL APPEARANCE OF MATERIAL WITNESS(ES) ANGEL
                    DAVID HERNANDEZ GONZALEZ as to Denitria Edwards, Alan Mcmillan,
                    (Material Witness(es) informed of rights) held on 10/7/2015. MW advised that
                    no charges are pending and that MW is remanded into custody of the U.S.
                    Marshals in Case number 15MJ1491 USA v. Denitria Edwards et al.. Financial
                    Affidavit, executed. MW request Counsel. Atty Maria Elena Morales appointed
                    not present in Courtroom. BOND SET AT $ 5,000.00 c/s. Appearances:Mary
                    Ellen Smyth Ausa & Maria Elena Morales appt. (ERO:Terry Lozano)
                    (Interpreter:Susan Tellez, used ) MW remanded to Custody of the U.S.
                    Marshals, filed.(mxperez, 5) [5:15-mj-01491] (Entered: 10/07/2015)
 10/07/2015      13 Sealed Financial Affidavit CJA 23 by Material Witness ANGEL DAVID
                    HERNANDEZ GONZALEZ as to Denitria Edwards, Alan Mcmillan, filed.
                    [5:15-mj-01491] (Entered: 10/07/2015)
 10/07/2015      14 CJA 20 for Material Witness ANGEL DAVID HERNANDEZ GONZALEZ:
                    Appointment of Attorney Maria Elena Morales for Argel David Hernandez-
                    Gonzalez as to Alan Mcmillan, Denitria Edwards ( Signed by Magistrate Judge
                    Guillermo R. Garcia) Parties notified. (mxperez, 5) [5:15-mj-01491] (Entered:
                    10/07/2015)
 10/07/2015          Minute Entry for proceedings held before Magistrate Judge Guillermo R.
                     Garcia. INITIAL APPEARANCE on Complaint as to Denitria Edwards held on
                     10/7/2015. Defendant advised of charge(s) and rights. Defendant requests
                     appointed counsel. Financial Affidavit executed. Order appointing Federal
                     Public Defender. Bond set at $75,000.00 c/s. Appearances: Mary Ellen Smyth,
                     AUSA; FPD Francisco Valcarcel (on duty); USPTO: Monica Hernandez;
                     USPO: Julian Cantu; USM: Moises Moldes. (Opened/Adjourned: 9:10 AM -
                     9:16 AM) (ERO:Terry Lozano) (Interpreter: Susan Tellez, not used) Deft
                     remanded to custody. Preliminary Examination Hearing set for 10/21/2015 at
                     10:00 AM in Courtroom 2C before Magistrate Judge J. Scott Hacker.(avelizadi,
                     5) [5:15-mj-01491] (Entered: 10/07/2015)
 10/07/2015       2 Sealed Financial Affidavit CJA 23 by Denitria Edwards, filed. (mxperez, 5).
                    [5:15-mj-01491] (Entered: 10/07/2015)
 10/07/2015       3 ORDER APPOINTING FEDERAL PUBLIC DEFENDER for Denitria
                    Edwards ( Signed by Magistrate Judge Guillermo R. Garcia) Parties notified.
                    (avelizadi, 5) [5:15-mj-01491] (Entered: 10/07/2015)
 10/07/2015       4 NOTICE OF SETTING as to Denitria Edwards. Preliminary Examination
                    Hearing set for 10/21/2015 at 10:00 AM in Courtroom 2C before Magistrate
                    Judge J. Scott Hacker. (avelizadi, 5) [5:15-mj-01491] (Entered: 10/07/2015)
 10/08/2015          NOTICE OF ATTORNEY APPEARANCE Arturo Villarreal, III, Federal
                     Public Defender, in case as to Denitria Edwards, filed.(Villarreal, Arturo)
                     [5:15-mj-01491] (Entered: 10/08/2015)
 10/08/2015      15 WAIVER of Preliminary Hearing by Denitria Edwards, filed.(Villarreal,




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                     Arturo) [5:15-mj-01491] (Entered: 10/08/2015)
 10/17/2015      19 Pretrial Services Report (Sealed) as to Denitria Edwards, filed. (hcortez, 5)
                    [5:15-mj-01491] (Entered: 10/17/2015)
 10/19/2015      20 ORDER as to Denitria Edwards. $75,000.00 UNSECURED. ( Signed by
                    Magistrate Judge Guillermo R. Garcia) Parties notified. (dgonzalez, 5) [5:15-
                    mj-01491] (Entered: 10/20/2015)
 10/27/2015      22 INDICTMENT(Laredo)(The original indictment with the signature of the grand
                    jury foreperson is on file under seal with the clerk) as to Denitria Edwards (1)
                    count(s) 1, 2-3, Alan Mcmillan (2) count(s) 1, 2-3, filed. (gsalinas, 5) (Entered:
                    10/27/2015)
 10/28/2015      23 NOTICE OF SETTING as to Denitria Edwards, Alan Mcmillan. Arraignment
                    set for 11/5/2015 at 11:00 AM in Courtroom 2B before Magistrate Judge Diana
                    Song Quiroga, filed. (gsalinas, 5) (Entered: 10/28/2015)
 10/29/2015      26 WAIVER of Presence at Arraignment and Entry of Plea of Not Guilty by
                    Denitria Edwards, filed. (Villarreal, Arturo) (Entered: 10/29/2015)
 11/05/2015      29 ORDER accepting 26 Waiver of Presence at Arraignment as to Denitria
                    Edwards (1).(Signed by Magistrate Judge J. Scott Hacker.) Parties notified.
                    (ehernandez, 5) (Entered: 11/05/2015)
 11/05/2015      30 SCHEDULING ORDER as to Denitria Edwards. Pretrial Motion Filing due by
                    11/16/2015. Final Pretrial Conference set for 12/1/2015 at 01:00 PM in
                    Courtroom 3C before Magistrate Judge Guillermo R. Garcia. Jury Selection set
                    for 12/14/2015 at 09:00 AM in Courtroom 3B before Judge Diana Saldana.
                    Parties notified. (ehernandez, 5) (Entered: 11/05/2015)
 11/10/2015      32 APPEARANCE Bond Entered as to Denitria Edwards in amount of $75,000.00
                    Unsecured Bond, Co-Surety: Gary Wayne Speakman, filed. (nortiz, 5)
                    (Additional attachment(s) added on 11/16/2015: # 1 Unredacted attachment)
                    (nortiz, 5). (Entered: 11/16/2015)
 11/12/2015      31 Unopposed MOTION for Bond by Belen Rodriguez-Vasquez as to Denitria
                    Edwards, Alan Mcmillan, filed. (Attachments: # 1 Proposed Order)(Morales,
                    Maria) (Entered: 11/12/2015)
 11/16/2015      33 ORDER denying 31 Motion for Bond for MW Belen Rodriguez Vazquez as to
                    Denitria Edwards (1), Alan Mcmillan (2).(Signed by Judge Diana Saldana.)
                    Parties notified.(mxperez, 5) (Entered: 11/17/2015)
 11/16/2015      34 Pretrial Services Memorandum for MW, Belen Rodriguez Vazquez (Sealed) as
                    to Denitria Edwards, Alan Mcmillan, filed. (Entered: 11/17/2015)
 11/18/2015      36 Sealed receipt received by Ausa & Pretrial re: 34 , filed. (Entered: 11/19/2015)
 11/19/2015      37 Unopposed MOTION to Substitute Attorney Norma Nelly Vielma discharging
                    Maria Elena Morales by on behalf of Belen Rodriguez-Vasquez as to Denitria
                    Edwards, Alan Mcmillan, filed. (Vielma, Norma) (Entered: 11/19/2015)
 11/20/2015      38 Unopposed MOTION for Bond Reconsideration based on Exhibits by Belen
                    Rodriguez-Vasquez as to Denitria Edwards, Alan Mcmillan, filed.




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                     (Attachments: # 1 Proposed Order Proposed Order, # 2 Exhibit Exhibit Index, #
                     3 Exhibit Supporting Documents)(Vielma, Norma) (Entered: 11/20/2015)
 11/20/2015      39 Sealed Event, filed. (Entered: 11/20/2015)
 11/20/2015      40 ORDER granting 37 Motion to Substitute Attorney as to Denitria Edwards (1),
                    Alan Mcmillan (2).(Signed by Judge Diana Saldana.) Parties notified.(mxperez,
                    5) (Entered: 11/23/2015)
 11/24/2015      41 ** Entered in ERROR , wrong event ** Sealed Order, filed. Modified on
                    11/25/2015 (mxperez, 5). (Entered: 11/25/2015)
 11/24/2015      42 ORDER denying 38 Motion for Bond for MW Belen Rodriguez Vazquez, as to
                    Denitria Edwards (1), Alan Mcmillan (2).(Signed by Judge Diana Saldana.)
                    Parties notified.(mxperez, 5) (Entered: 11/25/2015)
 11/24/2015      43 Pretrial Services Memorandum (Sealed) for Belen Rodriguez Vazquez, as to
                    Denitria Edwards, Alan Mcmillan, filed. (Entered: 11/25/2015)
 12/01/2015          RE-ARRAIGNMENT Minute Entry for proceedings held before Magistrate
                     Judge Guillermo R. Garcia on 12/1/2015 as to Denitria Edwards : Defendant
                     pled Guilty to Count(s) 1,2,3 of the Indictment. Cold Plea. No plea agreement.
                     Oral factual basis. Appeal Waived: No. PSI due by: 01/05/2016 Counsel
                     present for PSI Interview? Yes. Appearances: AUSA Jose Angel Flores f/USA;
                     AFPD Arturo Villarreal III f/Defendant. Deft continued on bond. (USPO: Luz
                     Lopez Garza) (ERO: Terry Lozano) (Interpreter: Susan Tellez not used) (Time
                     in Court 1:20-2:19) (avelizadi, 5) (Entered: 12/01/2015)
 12/01/2015          **Terminate Deadlines and Hearings as to Denitria Edwards: (avelizadi, 5)
                     (Entered: 12/01/2015)
 12/01/2015      45 ORDER for Presentence Investigation and Disclosure & Sentencing Dates as to
                    Denitria Edwards. PSI Completion due by 1/5/2016 ( Signed by Judge Diana
                    Saldana) Parties notified. (avelizadi, 5) (Entered: 12/01/2015)
 12/01/2015      48 Consent to Administration of Guilty Plea and Fed.R.Crim.P. 11 Allocution by
                    United States Magistrate Judge by Denitria Edwards, filed.(dgonzalez, 5)
                    (Entered: 12/03/2015)
 12/03/2015      49 REPORT AND RECOMMENDATIONS as to Denitria Edwards Objections to
                    R&R due by 12/17/2015 ( Signed by Magistrate Judge Guillermo R. Garcia)
                    Parties notified. (mxperez, 5) (Entered: 12/04/2015)
 12/18/2015      51 ORDER ADOPTING REPORT AND RECOMMENDATION - Guilty Plea as
                    to Denitria Edwards re: 49 Report and Recommendations ( Signed by Judge
                    Diana Saldana) Parties notified. (yyunesadi, 5) (Entered: 12/18/2015)
 03/14/2016      54 Objection to Presentence Investigation Report (Sealed) by Denitria Edwards,
                    filed. (With attachments) (Entered: 03/14/2016)
 03/21/2016      55 Final Presentence Investigation Report (Sealed) as to Denitria Edwards, filed.
                    (rtenorio, 5) (Entered: 03/21/2016)
 03/21/2016      56 Sealed Addendum to 55 Final Presentence Investigation Report (Sealed) as to
                    Denitria Edwards, filed. (rtenorio, 5) (Entered: 03/21/2016)




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 03/21/2016      57 Confidential Sentencing Recommendation(Sealed) regarding Denitria Edwards,
                    filed. (rtenorio, 5) (Entered: 03/21/2016)
 05/12/2016      61 NOTICE OF SETTING as to Denitria Edwards, Alan Mcmillan. Sentencing set
                    for 5/23/2016 at 01:30 PM in Courtroom 3B before Judge Diana Saldana, filed.
                    (smedellin, 5) (Entered: 05/12/2016)
 05/17/2016      62 NOTICE OF RESETTING as to Denitria Edwards. Sentencing set for
                    5/19/2016 at 08:30 AM in Courtroom 3B before Judge Diana Saldana, filed.
                    (smedellin, 5) (Entered: 05/17/2016)
 05/19/2016          Minute Entry for proceedings held before Judge Diana Saldana: Sentencing
                     held on 5/19/2016 for Denitria Edwards (1). Sentencing guideline is at Level
                     15 / Category 1; The Court does a downward variance; Count(s) 1-3, 12 mos
                     and 1 day concurrent as to counts 1-3 for a total of 12 mos and 1 day imprs; 3
                     yrs SRT concurrent as to counts 1-3 for a total of 3 yrs SRT; all standard and
                     mandatory conditions of supervised release apply; $100.00 Special Assessment
                     as to each count for a total of $300.00 special assessment; fine waived [because
                     of the defendants inability to pay]; 50 hours of community service within 18
                     mos of SRT; drug/alcohol treatment while on SRT; mental health treatment
                     while on SRT; The Court makes a finding that the defendant is indigent and
                     will not impose the $5,000.00 Special Assessment; defendant kept right to
                     appeal however defendant is advised of right to appeal (notified of 14 day
                     deadline); defendant was advised appeal would be free of charge. defendant to
                     be placed at BOP facility in Arkansas.; [TIME: 9:10AM - 9:22AM] ***The
                     defendant is allowed to self-surrender to institution when designated***
                     Appearances: Ausa Jorge Vela, f/ Chris dos Santos, f/Gov't; AFPD Arturo
                     Villarreal, III, f/Deft.; USPO: Luz Lopez-Garza; USM: Marcos Pompa.(ERO:
                     Terry Lozano) (Interpreter: Diana Gonzalez / Ana Koency, (Not Used) Deft
                     continued on bond, filed.(smedellin, 5) Modified on 5/19/2016 (smedellin, 5).
                     (Entered: 05/19/2016)
 05/19/2016      65 STATEMENT OF NON-APPEAL by Denitria Edwards,filed.(Villarreal,
                    Arturo) (Entered: 05/19/2016)
 05/25/2016      67 JUDGMENT as to Denitria Edwards ( Signed by Judge Diana Saldana) Parties
                    notified. (ehernandez, 5) (Entered: 05/25/2016)
 05/25/2016      68 Statement of Reasons (Sealed) as to Denitria Edwards. NOTICE: Document
                    available to applicable parties only. Authorized users enter CM/ECF Filer login
                    and password first for authentication. Instructions available at
                    http://www.txs.uscourts.gov/attorney-information - Electronic Access to Sealed
                    Documents. Be sure to SAVE the document locally at the time of viewing,
                    filed. (Entered: 05/25/2016)
 06/10/2016      71 ORDER TO SURRENDER on THURSDAY, JULY 28, 2016 by 2:00 PM to
                    FCI ALICEVILLE, 11070 Highway 14, Aliceville, AL 35442 as to Denitria
                    Edwards ( Signed by Judge George P Kazen) Parties notified. (nortiz, 5)
                    (Additional attachment(s) added on 6/10/2016: # 1 Unredacted attachment)
                    (nortiz, 5). (Entered: 06/10/2016)
 06/10/2016      72 RECEIPT of 71 Order to Surrender submitted to the US Marshals Service as to
                    Denitria Edwards, filed. (nortiz, 5) (Entered: 06/10/2016)




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 06/16/2016      75 MAIL RETURNED UNDELIVERABLE re: 71 Order to Surrender sent to
                    Denitria Edwards, filed. (nortiz, 5) (Entered: 06/17/2016)
 06/23/2016      77 Sealed Petition for Action on Conditions of Pretrial Release as to Denitria
                    Edwards, filed. (Entered: 06/24/2016)
 06/23/2016      78 Sealed receipt received from dUSM re: 77 Sealed Petition as to Deitria
                    Edwards, filed. (Entered: 06/24/2016)
 07/14/2016      80 Rule 5(c)(3) Documents Received from Eastern District of Arkansas as to
                    Denitria Edwards [U.S. Marshals were ordered to transport Deft Edwards to
                    Alabama to begin serving her term of federal incarceration], filed.(sgonzalez, 5)
                    (Entered: 07/14/2016)
 07/14/2016          Arrest of Denitria Edwards in Eastern District of Arkansas to begin serving
                     sentence in Alabama., filed. (sgonzalez, 5) (Entered: 07/14/2016)
 08/01/2016      82 Notice that the defendant in the specified arrested on 07/11/2016 Eastern
                    Arkansas as to Denitria Edwards re 71 Order to Surrender,, filed.(mxperez, 5)
                    (Entered: 08/02/2016)
 11/27/2017      83 Supervised Release Jurisdiction Transferred to Eastern District of Arkansas
                    Little Rock as to Denitria Edwards., filed.(dgonzalez, 5) (Additional attachment
                    (s) added on 11/28/2017: # 1 Transmittal Letter) (dgonzalez, 5). (Entered:
                    11/27/2017)



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